                                       Case 2:19-cv-00725-JCM-DJA Document 14 Filed 06/27/19 Page 1 of 11


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                                   9
                                     Merchant Services LLC; Wells Fargo Bank,
                                  10 N.A.; Wells Fargo & Co.; and First Data
                                     Merchant Services Corporation, now known
                                  11 as First Data Merchant Services LLC

                                  12                                UNITED STATES DISTRICT COURT
10161 Park Run Drive, Suite 150
 SEMENZA KIRCHER RICKARD




                                  13                                       DISTRICT OF NEVADA
    Las Vegas, NV 89145




                                  14 LA MOJARRA LOCA, INC.,                                Case No.: 2:19-cv-00725-JCM-CWH

                                  15                         Plaintiff,                    DEFENDANTS WELLS FARGO
                                              v.                                           MERCHANT SERVICES LLC’S;
                                  16                                                       WELLS FARGO BANK, N.A.’S;
                                     WELLS FARGO MERCHANT SERVICES                         WELLS FARGO & CO.’S; AND FIRST
                                  17 LLC; WELLS FARGO BANK, N.A.;
                                                                                           DATA MERCHANT SERVICES
                                  18 WELLS FARGO & CO.; FIRST DATA                         CORPORATION, NOW KNOWN AS
                                     MERCHANT SERVICES CORPORATION;                        FIRST DATA MERCHANT SERVICES
                                  19 DOES I-X INDIVIDUALLY; ROE                            LLC’S REPLY IN SUPPORT OF
                                     CORPORATIONS I-X,                                     THEIR MOTION TO DISMISS OR
                                  20                                                       ALTERNATIVELY TRANSFER
                                                      Defendants.                          VENUE
                                  21

                                  22          In response to Defendants’ Motion to Dismiss,1 Plaintiff argues only the Agreement’s

                                  23 notice-of-claim and limitation-of-liability provisions are unconscionable, but Plaintiff fails to

                                  24 plead any factual allegations supporting these arguments, which in any event are contrary to New

                                  25 York’s well-established case law. Moreover, Plaintiff wholly fails to address Defendants’

                                  26 argument for dismissal of Plaintiff’s duplicative unjust enrichment claim or dismissal of Wells

                                  27    1
                                          The caption in Plaintiff’s Opposition curiously includes different parties than those identified
                                  28    in Plaintiff’s Complaint. Defendants therefore use the caption as originally styled in the
                                        Complaint.
                                                                                  Page 1 of 11
                                       Case 2:19-cv-00725-JCM-DJA Document 14 Filed 06/27/19 Page 2 of 11



                                   1 Fargo & Co. and First Data Merchant Services LLC. Dismissal of the Complaint with prejudice

                                   2 is therefore proper and appropriate. Alternatively, to the extent any claims remain (they should

                                   3 not), Plaintiff has acquiesced to the transfer of this case to the United States District Court for the

                                   4 Eastern District of New York by failing to address those arguments also.

                                   5                                             ARGUMENT

                                   6          1.       New York law on unconscionability

                                   7         Plaintiff’s Opposition argues only that the notice and limitation-of-liability provisions in

                                   8 the Agreement are unconscionable and should not be enforced. Plaintiff’s argument is contrary to

                                   9 well-settled New York law and therefore necessarily fails.
                                  10         New York courts will only find a contract unconscionable when it is “so grossly

                                  11 unreasonable or unconscionable in the light of the mores and business practices of the time and

                                  12 place as to be unenforceable according to its literal terms.” Suquin Zhu v. Hakkasan NYC LLC,
10161 Park Run Drive, Suite 150
 SEMENZA KIRCHER RICKARD




                                  13 291 F. Supp. 3d 378, 387 (S.D.N.Y. 2017). “There is a presumption of conscionability when the
    Las Vegas, NV 89145




                                  14 contract is between businessmen in a commercial setting.” Process America, Inc. v. Cynergy

                                  15 Holdings, LLC, 35 F. Supp. 3d 259, 263 (E.D.N.Y. 2014). Moreover, a contract provision will be

                                  16 deemed unconscionable only where it is both procedurally and substantively unconscionable

                                  17 when made. NML Capital v. Republic of Argentina, 621 F.3d 230, 237 (2d Cir. 2010).

                                  18         As discussed below, Plaintiff wholly fails to sufficiently assert any factual allegation or

                                  19 make any argument supporting its unconscionability claims.
                                  20           2.      Plaintiff has not pled any factual allegation such that the Court should even
                                                       entertain any unconscionability argument.
                                  21
                                              Critically, Plaintiff’s Complaint contains no factual support for any argument that any
                                  22
                                       provision of the Agreement is unconscionable, and thus the Court should not even consider these
                                  23
                                       arguments. In short, Plaintiff attempts to include in its Opposition conclusory allegations not
                                  24
                                       contained in the Complaint, such as Plaintiff “lacked the business expertise” and “never had any
                                  25
                                       bargaining power or a choice as to entry into the contract.” (Opp’n at 6, 8, 11–12). Any such
                                  26
                                       allegation not included in the Complaint cannot form the basis for opposition to the Motion to
                                  27
                                       Dismiss. Woodbury Law, Ltd. v. Bank of Am., No. 2:15-CV-603 JCM GWF, 2015 WL 3994956,
                                  28

                                                                                   Page 2 of 11
                                       Case 2:19-cv-00725-JCM-DJA Document 14 Filed 06/27/19 Page 3 of 11



                                   1 at *3 (D. Nev. July 1, 2015) (“Plaintiff’s response improperly relies on information that is not in

                                   2 its amended complaint. Plaintiff attaches additional exhibits that were not included with its

                                   3 complaint to attempt to bolster its standing. When considering a motion to dismiss, a court may

                                   4 reference only those facts alleged within the complaint itself.”); Caldwell v. Compass Entm’t

                                   5 Grp., LLC, No. 2:12-CV-00458-KJD, 2012 WL 5456075, at *1 (D. Nev. Nov. 6, 2012)

                                   6 (“Further, claims must be based on facts asserted in the complaint, not in his response to the

                                   7 motion to dismiss.”).

                                   8          Plaintiff’s Complaint does not even contain factual allegations that could support a claim

                                   9 for relief under Iqbal and Twombly and must therefore be dismissed.
                                  10           3.      Plaintiff’s arguments that the Agreement’s notice-of-claim and limitation-
                                                       of-liability provisions are procedurally unconscionable lack merit.
                                  11
                                        As discussed above, Plaintiff’s Complaint does not contain any factual allegation that could
                                  12
                                       support any argument in favor of unconscionability. Even based on the improper statements in its
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                                  13
                                       Opposition, Plaintiff’s arguments about unconscionability lack merit.
    Las Vegas, NV 89145




                                  14
                                        Procedural unconscionability addresses the contract formation process and alleged lack of
                                  15
                                       meaningful choice. Zam & Zam Super Market, LLC v. Ignite Payments, Inc., 736 Fed. App’x 274
                                  16
                                       (2d Cir. 2018). Courts consider factors including (1) the size and commercial setting of the
                                  17
                                       transaction, (2) the use of deceptive or high-pressure tactics, (3) the use of fine print in the
                                  18
                                       contract, (4) the education and experience of the party claiming unconscionability, and (5) the
                                  19
                                       disparity in bargaining power. Gillman, 73 N.Y.2d at 11. Importantly, “the doctrine of
                                  20
                                       unconscionability has little application in a commercial setting because it is presumed that
                                  21
                                       businessmen deal at arm’s length with relative equality of bargaining power.” Preferred Capital,
                                  22
                                       Inc. v. Best Cigars, Inc., 2005 WL 3115262 (N.Y. App. Div. Nov. 4, 2005) (finding no
                                  23
                                       unconscionability in leasing contract between financier and merchant for an ATM terminal).
                                  24
                                              Plaintiff argues, without any supporting factual allegation, that a disparity of bargaining
                                  25
                                       power existed between the parties without an opportunity to negotiate. (Opp’n at 12:4–5). But, as
                                  26
                                       Plaintiff acknowledges in its Opposition, disparity in bargaining power between the parties to the
                                  27
                                       Agreement is not enough to hold an agreement enforceable. (Opp’n at 11:22–23). “It is only
                                  28

                                                                                  Page 3 of 11
                                       Case 2:19-cv-00725-JCM-DJA Document 14 Filed 06/27/19 Page 4 of 11



                                   1 when inequality in bargaining power is coupled with high pressure tactics that coerce [a party’s]

                                   2 acceptance of onerous terms that a signatory can be considered to have lacked a meaningful

                                   3 choice.” Suquin Zhu, 291 F. Supp. 3d at 387.

                                   4          Plaintiff fails to allege (nor can it allege) any “high pressure” tactics on the part of any

                                   5 Defendant. (See Compl. generally.) Rather, Plaintiff complains in its Opposition it “had to take

                                   6 the contract as it was written or leave it” “without any room for negotiation[.]” (Opp’n at 12:1–

                                   7 3). However, an agreement is not rendered procedurally unconscionable simply because it was

                                   8 entered into on a take-it-or-leave it basis. See Anonymous v. JP Morgan Chase& Co., 2005 WL

                                   9 2861589, *6 (S.D.N.Y. Oct. 31, 2005) (holding a Cardmember Agreement on a “printed form”
                                  10 and “offered on a take-it-or-leave-it basis” was not unconscionable); G& R Moojestic Treats,
                                  11 Inc. v. Maggiemoo’s Intern., LLC, 2004 WL 1110423 (S.D.N.Y. May 19, 2004) (“The fact that

                                  12 the Franchise Agreement was presented on a take-it-or-leave-it basis and was not subject to
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                                  13 negotiation renders it neither a contract of adhesion nor unconscionable.”). Thus, allegedly
    Las Vegas, NV 89145




                                  14 offering Plaintiff a take-it-or-leave-it contract is not a “high pressure tactic”.

                                  15          Plaintiff lastly takes issue with the format of the Agreement, protesting that “provisions

                                  16 are isolated from each other” in a “multi-page gap.” Courts, however, routinely reject

                                  17 unconscionability claims based on such arguments. See, e.g., Molina v. Kaleo, Inc., 363 F. Supp.

                                  18 3d 344, 351–52 (S.D.N.Y. 2019) (rejecting Plaintiff’s argument that an agreement was

                                  19 procedurally unconscionable where “Defendant [had allegedly] buried an arbitration and forum
                                  20 selection clause deep within 22 pages of terms and conditions”); Novak v. Overture Servs., Inc.,

                                  21 309 F. Supp. 2d 446, 451 (E.D.N.Y. 2004) (finding arbitration clause enforceable even though

                                  22 relevant portion occurred more than 300 lines into the document, viewable in ten-line

                                  23 increments).

                                  24          Here, Plaintiff’s discontent with Sections 18.11 and 20.4 should similarly be rejected.

                                  25 The notice-of-claim provision in Section 18.11 is preceded by the bold, highlighted heading:

                                  26 “Fees; Adjustments; Collection of Amounts Due.” (Exhibit B at ¶ 18). The 45-day notice

                                  27 requirement is repeated in Paragraph 4 of the Confirmation Page signed by Plaintiff. (See Exhibit

                                  28 C). Similarly, Defendant’s limitation-of-liability provision in Section 20.4 also falls under a bold,

                                                                                    Page 4 of 11
                                       Case 2:19-cv-00725-JCM-DJA Document 14 Filed 06/27/19 Page 5 of 11



                                   1 highlighted heading: “Representations, Warranties; Limitations on Liability; Exclusion of

                                   2 Consequential Damages” and is also discussed on the Confirmation Page (Exhibit B at ¶ 20;

                                   3 Exhibit C). And, as Plaintiff acknowledges, the limitation-of-liability provisions are entirely

                                   4 capitalized. (See Opp’n 4:21–25; Exhibit B at ¶ 20.4). Rather than obscuring the provision, as

                                   5 Plaintiff claims without legal support, the bold, highlighted heading and use of capitalized letters

                                   6 emphasizes the limitation-of-liability provision. See Sherma Kolainu-Hear Our Voices v.

                                   7 ProviderSoft, LLC, 832 F. Supp. 2d 194, 201 (E.D.N.Y. 2010) (finding no unconscionability

                                   8 where no “fine print” was utilized as “the disclaimer of all warranties occurred in capital letters,”

                                   9 including the heading: “Limited Warranty and Disclaimer of Warranty”).
                                  10          Importantly, Plaintiff’s signature on the Confirmation Page acknowledges Plaintiff

                                  11 “received . . . and read the complete Program Guide” and “agree[d] to comply with all terms set

                                  12 forth therein.” (Exhibit C). Moreover, Plaintiff’s “failure to read or understand a contract does
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                                  13 not relieve the signer of its obligations thereunder.” Sequin, 291 F. Supp. 3d at 387. Plaintiff’s
    Las Vegas, NV 89145




                                  14 argument that “it is highly doubtful [Plaintiff] understood these to be the terms of the contract” is

                                  15 therefore untenable. (Opp’n at 10:22–25).

                                  16          Plaintiff’s arguments about procedural unconscionability lack merit.

                                  17           4.      Plaintiff’s arguments that the Agreement’s notice-of-claim and limitation-
                                                       of-liability provisions are substantively unconscionable also lack merit.
                                  18
                                              Substantive unconscionability looks to the “substance of the bargain to determine
                                  19
                                       whether the terms were unreasonably favorable to the party against whom unconscionability is
                                  20
                                       urged.” Shema Kolainu, 832 F. Supp. 2d at 202. Here, Plaintiff argues the Agreement’s notice-
                                  21
                                       of-claim provision is “unfair, against every fiber [of] public policy, and completely unreasonable
                                  22
                                       . . . .” 2 Additionally, Plaintiff claims the limitation-of-liability provision is similarly
                                  23
                                       unconscionable.
                                  24
                                              As discussed above, Plaintiff pleads no fact supporting any unconscionability argument,
                                  25
                                       which in any event conflicts with New York law.
                                  26
                                        2
                                          Plaintiff urges this Court to consider the amount of money at stake when evaluating whether it
                                  27    sufficiently pled unconscionability. (Opp’n at 10:11). This position is contrary to New York
                                  28    law. Courts only consider the conditions at the time the contract was made when evaluating
                                        whether a contract is unconscionable. See NML Capital, 621 F.3d at 237 (2d Cir. 2010).
                                                                                  Page 5 of 11
                                       Case 2:19-cv-00725-JCM-DJA Document 14 Filed 06/27/19 Page 6 of 11



                                   1                  a.      Notice-of-claim provisions have been repeatedly upheld.

                                   2          Courts have upheld and enforced virtually identical notice-of-claim provisions in similar

                                   3 merchant/processor agreements. For example, in Benex LC v. First Data Merchant Services

                                   4 Corporation, the Court dismissed a merchant’s breach-of-contract claim because the merchant

                                   5 failed to comply with a nearly identical notice-of-claim provision. 2016 WL 6683475, *5–6

                                   6 (E.D.N.Y. Nov. 14, 2016). Moreover, similar to Plaintiff’s argument in this case, the merchant in

                                   7 Benex argued notice was futile because “if such notice is given, any determination by [First

                                   8 Data] is discretionary”, as the contract stated First Data “shall not have any obligation to . . .

                                   9 effect any such adjustments.” (Compare id. at *7 with Opp’n at 3:22–4:3; 4:15–20; 11:10–11).
                                  10 The District Court in Benex disagreed, finding the merchant mischaracterized the relevant
                                  11 language: “Section 18.10 of the Program Guide states that if a merchant notifies First Data more

                                  12 than sixty days after the adjustment should have been made, First Data may, in its discretion,
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                                  13 assist the merchant and investigate the billing irregularity.” Id. Plaintiff here similarly
    Las Vegas, NV 89145




                                  14 mischaracterizes the language in Section 18.11. (See Opp’n at 3:22–25; 10:4–12).

                                  15          Plaintiff additionally argues the 45-day notice requirement is unreasonable because the

                                  16 transactions do not appear on Plaintiff’s merchant statement. (Opp’n at 9:19–25). Courts have

                                  17 enforced an identical provision against a merchant who similarly alleged breach of contract for

                                  18 missing funds in its settlement account. E.g., Starbrands Capital LLC v. Original MW Inc., 2017

                                  19 WL 1013300, *9 (D. Mass. Mar. 15, 2017). The District Court held the notice-of-claim provision
                                  20 was unambiguous:

                                  21           Section 18.10 states that Starbrands was obligated to address any adjustments it
                                               believed needed to be made to its settlement account within 45 days after any
                                  22
                                               debit or credit should have been effected. The Program Guide defines a settlement
                                  23           account as “an account at a financial institution designated by Client as the
                                               account to be debited and credited . . . for Card transactions, fees, Chargebacks,
                                  24           and other amounts due under the Agreement.” Accordingly, the provisions of
                                               Section 18.10, including reference to the settlement account, do not, as Starbrands
                                  25           argues, only refer to “fees charged by [defendant],” but also include amounts
                                  26           debited and credited for card transactions such as the amounts at issue here.
                                       Id. Because the merchant did not provide the requisite notice, the District Court found no breach
                                  27
                                       of contract. Id. at *1; accord Zam & Zam Super Market, 736 Fed. App’x at 278 (rejecting a
                                  28

                                                                                 Page 6 of 11
                                       Case 2:19-cv-00725-JCM-DJA Document 14 Filed 06/27/19 Page 7 of 11



                                   1 merchant’s argument that the 60-day notice requirement in the contract was unconscionable

                                   2 where the provision “require[d] a business entity to review its monthly account statement and to

                                   3 dispute in writing any charges . . . within sixty days in order to preserve those charges for

                                   4 litigation” and concluding as a matter of law that “it is not grossly unreasonable to expect a

                                   5 merchant to review its bill and provide written notice of any disputed charges within sixty

                                   6 days”).

                                   7            As shown in Benex and Starbrands, the 45-day notice requirement is not, as Plaintiff

                                   8 contends, “unreasonable” when disputing missing funds. In fact, New York courts have barred

                                   9 recovery for failure to comply with far more limiting notice requirements. See, e.g., Perl v. Smith
                                  10 Barney, Inc., 230 A.D.2d 664, 665–61 (N.Y. App. Div. 1996) (recovery barred when plaintiff did
                                  11 not object within the “contractually mandated ten-day period in which plaintiff was required to

                                  12 object to any disputed charges”). Plaintiff’s failure to comply with the notice requirement thus
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                                  13 bars recovery. Zam & Zam Super Market, LLC v. Ignite Payments, LLC, 2017 WL 6729854
    Las Vegas, NV 89145




                                  14 (E.D.N.Y. Oct. 31, 2017).

                                  15           Cleary, Plaintiff has failed to allege any fact supporting its claim that the notice-of-claim

                                  16 provision is “grossly unreasonable”; in fact, Plaintiff readily admits in its Opposition the

                                  17 transactions were noticeable upon close inspection (Opp’n at 9:20–21), which includes reviewing

                                  18 statements for missing debit or credit that should have been effected. (Exhibit B at ¶ 18.11;

                                  19 Exhibit C at ¶ 4). Plaintiff’s argument that the notice provision is unreasonable and not
                                  20 applicable to the missing funds is therefore entirely untenable and contrary to established case

                                  21 law.
                                                              i. The limitation-of-liability        provision    is   not    substantively
                                  22                             unconscionable.
                                  23           New York courts permit limitations on liability between contracting parties, and such
                                  24 limitations are not per se substantively unconscionable. See, e.g., Process America, Inc., 35 F.

                                  25 Supp. 3d at 263–64 (finding no evidence the limitation-of-liability clause that limited recovery to

                                  26 four months of processing fees was unconscionable); Russell Pub. Group, Ltd. v. Brown Printing

                                  27 Co., 2014 WL 6790762 (S.D.N.Y. Dec. 2, 2014) (finding “limitation of liability” clause, which

                                  28 expressly precluded plaintiff from collecting consequential damages, was “fully enforceable and

                                                                                   Page 7 of 11
                                       Case 2:19-cv-00725-JCM-DJA Document 14 Filed 06/27/19 Page 8 of 11



                                   1 not unconscionable”).

                                   2          For example, in Process America, Inc., an independent sales organization sought to

                                   3 recover damages from a credit card processing service and asked the district court to find the

                                   4 limitation of liability unconscionable. 35 F. Supp. 3d at 263. The independent sales organization

                                   5 argued it was not represented by counsel and lacked experience in the credit-card processing

                                   6 business at the time the agreement was made; thus, enforcing the limitation-of-liability provision

                                   7 would lead to a harsh, uneven allocation of economic power. Id. The district court rejected the

                                   8 argument, finding the independent sales organization provided no evidence of unconscionability.

                                   9 Id. The district court held:
                                  10
                                               [The provision] is conspicuous and written in clear language, and states the
                                  11           limitation on [the credit processor’s] “total cumulative liability” in no uncertain
                                               terms. Process America has provided the Court with little more than assertions by
                                  12           its executives that they would not have agreed to the contract if they understood
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                                               that [the provision] would limit [the credit processor’s] liability in exactly the way
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                                  13
                                               the provision states that it would. That is insufficient to show that the provision is
    Las Vegas, NV 89145




                                  14           unconscionable, especially in the context of a commercial contract like this one.

                                  15 Id. at 263–64.

                                  16           Similarly, the limitation-of-liability provision in the Agreement is enforceable. Like the

                                  17 independent sales organization in Process America, Plaintiff argues had it understood the terms

                                  18 of the contract, it would not have agreed to it. (Opp’n at 10:21–25; 11:15–16). Such an argument

                                  19 is insufficient, especially given the commercial context of the Agreement and Plaintiff agreed
                                  20 and acknowledged it reviewed and read the Agreement prior to executing it. Moreover, the fact

                                  21 Plaintiff’s claimed damages were purportedly higher than the limit imposed by the Agreement’s

                                  22 limitation-of-liability provision does not render this provision unenforceable. Process America,

                                  23 Inc., 35 F. Supp. 3d at 264 (“Nor does the fact Process America’s actual damages significantly

                                  24 exceed the limit imposed by [the limitation of liability] render that provision unenforceable.”).

                                  25           Even the cases Plaintiff cites in support of unconscionability uphold the limitation-of-

                                  26 liability provision at issue. See In re Lyondell Chemical Co., 585 B.R. 41, 53–54 (S.D.N.Y.

                                  27 2018) (holding the limitation of liability did not render the contract between a lender and its

                                  28 borrower “so unbalanced or oppressive that it should be set aside”); Florence v. Merchants

                                                                                   Page 8 of 11
                                       Case 2:19-cv-00725-JCM-DJA Document 14 Filed 06/27/19 Page 9 of 11



                                   1 Central Alarm Co., 51 N.Y.2d 793, 795 (N.Y. 1980) (upholding the limitation of liability in the

                                   2 commercial setting where the language was clear and there was no special relationship between

                                   3 the parties warranting relief from the contract).

                                   4           Plaintiff’s failure to comply with the notice provision is fatal to its Complaint, and

                                   5 Plaintiff’s insufficient allegations of unconscionability do not provide otherwise. This Court

                                   6 should therefore dismiss Plaintiff’s Complaint for failure to state a claim. To the extent this

                                   7 Court retains Plaintiff’s claim (it should not), however, any recovery Plaintiff seeks must be

                                   8 limited to no more than $50,000 pursuant to the Agreement’s limitation-of-liability provision.

                                   9          5.      Plaintiff abandoned its unjust enrichment claim and its arguments against
                                                      dismissal of the other Defendants and transfer of venue.
                                  10
                                              Plaintiff fails to address in its Opposition Defendants’ argument seeking dismissal of its
                                  11
                                       unjust enrichment claim as duplicative of Plaintiff’s breach-of-contract claim. Plaintiff has
                                  12
                                       therefore abandoned this claim and it must be dismissed. Local Rule 7-2(d) provides that “The
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                                  13
                                       failure of an opposing party to file points and authorities in response to any motion, except a
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                                  14
                                       motion under Fed. R. Civ. P. 56 or a motion for attorney’s fees, constitutes a consent to the
                                  15
                                       granting of the motion.” Moreover, this Court has held this rule applies in cases such as here
                                  16
                                       when a party fails to address a portion of the moving party’s motion. Moore v. Ditech Fin., LLC,
                                  17
                                       No. 2:16-CV-1602-APG-GWF, 2017 WL 2464437, at *2 (D. Nev. June 7, 2017), aff’d, 710 F.
                                  18
                                       App'x 312 (9th Cir. 2018) (holding that the plaintiff “conceded to dismissal” of a claim
                                  19
                                       “by failing to oppose the defendants’ arguments on this point in their motion to dismiss”
                                  20
                                       (emphasis added)).
                                  21
                                              Similarly, Plaintiff’s Opposition does not address Defendants’ arguments that Wells
                                  22
                                       Fargo & Co. (“Wells Fargo”) and First Data Merchant Services LLC (“First Data”) must be
                                  23
                                       dismissed because they are not parties to the Agreement and because Plaintiff’s pleading
                                  24
                                       contains no factual allegation to support any claim against either. Nor does Plaintiff respond to
                                  25
                                       Defendant’s motion in the alternative to transfer venue to the United States District Court for the
                                  26
                                       Eastern District of New York pursuant to the forum-selection clause in the Agreement. (Exhibit
                                  27
                                       B ¶ 33.2).
                                  28

                                                                                  Page 9 of 11
                                       Case 2:19-cv-00725-JCM-DJA Document 14 Filed 06/27/19 Page 10 of 11



                                   1          Plaintiff’s unjust enrichment claim must therefore be dismissed; Wells Fargo and First

                                   2 Data must therefore be dismissed; and to the extent this Court does not dismiss Plaintiff’s

                                   3 breach-of-contract claim as to WFMS and WFB (it should), this case must be transferred to the

                                   4 Eastern District of New York.

                                   5                                           CONCLUSION

                                   6          For the foregoing reasons and the reasons detailed in Defendants’ Motion to Dismiss or

                                   7 Alternatively Transfer Venue, Plaintiff’s Complaint must be dismissed with prejudice in its

                                   8 entirety or alternatively transferred to the United States District Court for the Eastern District of

                                   9 New York.
                                  10          DATED this 27th day of June 2019.
                                  11                                                 SEMENZA| KIRCHER| RICKARD

                                  12
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                                                                                     /s/ Jarrod L. Rickard
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                                                                                     Jarrod L. Rickard, Esq., Bar No. 10203
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                                  16                                                 Las Vegas, NV 89145
                                  17                                                 Attorney for Defendants Wells Fargo Merchant
                                  18                                                 Services LLC; Wells Fargo Bank, N.A.; Wells
                                                                                     Fargo & Co.; and First Data Merchant Services
                                  19                                                 Corporation, now known as First Data Merchant
                                                                                     Services LLC
                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28

                                                                                 Page 10 of 11
                                       Case 2:19-cv-00725-JCM-DJA Document 14 Filed 06/27/19 Page 11 of 11


                                                                        CERTIFICATE OF SERVICE
                                   1

                                   2           I am employed by the law firm of Semenza Kircher Rickard in Clark County, Nevada. I
                                        am over the age of 18 and not a party to this action. The business address is 10161 Park Run
                                   3    Drive, Suite 150, Las Vegas, Nevada 89145.

                                   4           On the 27th day of June 2019, I served the document(s), described as:
                                   5
                                         DEFENDANTS WELLS FARGO MERCHANT SERVICES LLC’S; WELLS FARGO
                                   6    BANK, N.A.’S; WELLS FARGO & CO.’S; AND FIRST DATA MERCHANT SERVICES
                                         CORPORATION, NOW KNOWN AS FIRST DATA MERCHANT SERVICES LLC’S
                                   7      REPLY IN SUPPORT OF THEIR MOTION TO DISMISS OR ALTERNATIVELY
                                                                  TRANSFER VENUE
                                   8
                                               by placing/sending the     original     a true copy thereof
                                   9
                                  10       a. via ECF System (You must attach the “Notice of Electronic Filing”, or list all persons
                                              and addresses and attach additional paper if necessary)
                                  11
                                                      Mills & Anderson
                                  12                  Daniel W. Anderson, Esq.
10161 Park Run Drive, Suite 150




                                                      danderson@millsandmillsllc.com
 SEMENZA KIRCHER RICKARD




                                  13
                                                      Attorney for Plaintiff
    Las Vegas, NV 89145




                                  14
                                           b. BY U.S. MAIL. I deposited such envelope in the mail at Las Vegas, Nevada. The
                                  15          envelope(s) were mailed with postage thereon fully prepaid. I am readily familiar with
                                              Semenza Kircher Rickard’s practice of collection and processing correspondence for
                                  16          mailing. Under that practice, documents are deposited with the U.S. Postal Service on
                                  17          the same day, which is stated in the proof of service, with postage fully prepaid at Las
                                              Vegas, Nevada in the ordinary course of business. I am aware that on motion of party
                                  18          served, service is presumed invalid if the postal cancellation date or postage meter date
                                              is more than one day after the date stated in this proof of service.
                                  19
                                           c. BY PERSONAL SERVICE.
                                  20

                                  21       d. BY DIRECT EMAIL.

                                  22       e. BY FACSIMILE TRANSMISSION.

                                  23           I declare under penalty of perjury that the foregoing is true and correct.
                                  24                                                  /s/ Olivia A. Kelly
                                  25                                                  An Employee of Semenza Kircher Rickard

                                  26

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                                                                                  Page 11 of 11
